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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

FELIX ESPINOSA-OSORIO,                               §
                                                     §
                Petitioner,                          §
                                                     §
v.                                                   §                   1:19-cv-1139-RP
                                                     §                   [1:18-CR-91(31)]
UNITED STATES OF AMERICA,                            §
                                                     §
                Respondent.                          §

                                                  ORDER

        Before the Court is Felix Espinosa-Osorio’s (“Petitioner”) application for habeas corpus relief

under 28 U.S.C. § 2255. (Dkt. 1373). Petitioner appeared before United States Magistrate Judge Mark

Lane to plead guilty pursuant to a plea agreement, and the plea was accepted. (Id. at 2). On May 2,

2019, Petitioner was sentenced to a term of imprisonment of 78 months, and he did not appeal his

conviction. (Id.). Petitioner filed his motion to vacate, set aside, or correct sentence under 28 U.S.C. §

2255 on November 20, 2019. (Id. at 2–3). In his motion, he argues that his defense counsel rendered

ineffective assistance of counsel. (Dkt. 1373).

        The case was referred to United States Magistrate Judge Mark Lane for findings and

recommendations, pursuant to 28 U.S.C. § 636(b). Judge Lane filed his report and recommendation

on September 10, 2020. (Dkt. 1396). The report and recommendation was sent via certified mail to

Petitioner on the same day. (Dkt. 1397). The report and recommendation was delivered on

September 14, 2020. (Dkt. 1398). As of the date of this order, no party has filed objections to the

report and recommendation.

        Pursuant to 28 U.S.C. § 636(b), a party may serve and file specific, written objections to a

magistrate judge’s proposed findings and recommendations within fourteen days after being served

with a copy of the report and recommendation and, in doing so, secure de novo review by the district


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court. When no objections are timely filed, a district court can review the magistrate’s report and

recommendation for clear error. See Fed. R. Civ. P. 72 advisory committee’s note (“When no timely

objection is filed, the [district] court need only satisfy itself that there is no clear error on the face of

the record in order to accept the recommendation.”).

        Because no party has filed timely objections, the Court reviews the report and

recommendation for clear error. Having done so and finding no clear error, the Court accepts and

adopts the report and recommendation as its own order.

        Accordingly, IT IS ORDERED that the report and recommendation of United States

Magistrate Judge Mark Lane, (Dkt. 1396), is ADOPTED.

        It is FURTHER ORDERED that Petitioner’s application for federal writ of habeas corpus

is DISMISSED WITH PREJUDICE.

        It is FINALLY ORDERED that a certificate of appealability is DENIED.

        SIGNED on November 9, 2020.


                                                  _____________________________________
                                                  ROBERT PITMAN
                                                  UNITED STATES DISTRICT JUDGE




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